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                               UNITED STATES DISTRICT COURT

                           NORTHERN DISTRICT OF CALIFORNIA


   IN RE: ROUNDUP PRODUCTS                           MDL No. 2741
   LIABILITY LITIGATION
                                                     Case No. 16-md-02741-VC


   This document relates to:                         ORDER ENFORCING PRETRIAL
                                                     ORDER NO. 240
   See Appendices 1 and 2




       The plaintiffs are reminded of their obligations under Pretrial Order No. 240, which

requires every current and future plaintiff in this MDL to participate in Special Master Ken

Feinberg’s settlement program. See Appendix 3 (Pretrial Order No. 240, Dkt. No. 13323). The

Special Master recently informed the Court that the plaintiffs in the attached list have not

complied with PTO No. 240. See Appendix 1, Appendix 2. These plaintiffs are ordered to

comply and submit the information requested by the special master within 28 days—failure to do
so will result in the case being dismissed with prejudice under Federal Rule of Civil Procedure

41(b), and there will not be another warning. If the plaintiff requires more time to complete the

submission, then counsel may request it from the Special Master.

       Lead plaintiffs’ counsel are directed to notify counsel for each of the plaintiffs listed in

the appendices to this order that they are not in compliance with Pretrial Order No. 240. Lead

plaintiffs’ counsel are further directed to remind all plaintiffs’ counsel in this MDL of their

obligation to participate in the settlement program. Within 7 days, lead plaintiffs’ counsel shall

file a notice on the MDL docket explaining how they have complied with this order.
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      IT IS SO ORDERED.

Dated: May 21, 2024
                                   ______________________________________
                                   VINCE CHHABRIA
                                   United States District Judge




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                                        Appendix 1

                     Claimants Unresponsive to Determination Offer

                   Law Firm                       Plaintiff Name       Case Number


     Allan Berger & Associates, PLC           Harris, Pamela         3:23-cv-02564-VC
1
     Allan Berger & Associates, PLC           Latham, Walter         3: 22-cv-06391-VC
2
     Allan Berger & Associates, PLC           Romano, Frank          3:21-cv-01214-VC
3
     Allan Berger & Associates, PLC           Taylor, Marilyn        3:22-cv-04400-VC
4
     Anderson & Vaughn, PLLC                  Hammons, Robert        3:22-cv-05286-VC
5
     Belluck & Fox, LLP                       Menarchem, Mitchell    3:20-cv-06502-VC
6
     Ben Martin Law Group                     Wood, Johnny           3:22-cv-03818-VC
7
     Bernheim Kelley Battista                 Cromack, Wayne         3:23-cv-00565-VC
8
     Bernheim Kelley Battista                 Jacobs, Billie June    3:22-cv-02969-VC
9
     Bernheim Kelley Battista, LLC            Sullivan, Patrick      3:22-cv-00092-VC
10
     Bernheim Kelley Battista, LLC            Brookner, Mendel       3:23-cv-04840-VC
11
     Bisnar Chase LLP                         Austin, Robert         3:22-cv-07589-VC
12
     Chappell, Smith & Arden, P.A.            Putzrath, Mario        3:19-cv-03786-VC
13
     Christina Pendleton & Associates, P.C.   Sheppard, Christine    3:16-cv-05650-VC
14
     Corrie Yackulic Law Firm, PLLC           Axelson, Kathleen      3:19-cv-06400-VC
15
     Corrie Yackulic Law Firm, PLLC           Eilmes Jr., Kenneth    3:19-cv-05345-VC
16
     Corrie Yackulic Law Firm, PLLC           Hendrickson, Michael   3:22-cv-09090-VC
17
     Corrie Yackulic Law Firm, PLLC           Huntley, Carol         3:19-cv-06407-VC
18
     Corrie Yackulic Law Firm, PLLC           Tierney, Patrick       3:19-cv-01937-VC
19
   Daniels, Hines, Kalkhoff, Cook &           Beckfield, Brett       3:21-cv-05322-VC
20 Swanson
   Domina Law Group                           Graves, Brent          3:21-cv-09832-VC
21
   Drost, Gilbert, Andrew & Apicella, LLC     Goranson, Gordon       3:21-cv-06832-VC
22
   Ifediba Law Group, LLC                     Jenkins, Nancy         3:23-cv-03507-VC
23
   Ifediba Law Group, LLC                     Robertson, Darlene     3:23-cv-03515-VC
24



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     Ifediba Law Group, LLC                  Shock, John                3:23-cv-03548-VC
25
     Johnson Eiesland Law Offices, PC        Smith, Thomas              3:20-cv-08517-VC
26
     Law Office of Paul Mankin, APC          Ritcheson, Kenneth         3:23-cv-02170-VC
27
     Law Offices of Charles H. Johnson, PA   Billigen, Sr., Thomas      3:22-cv-08892-VC
28
     Law Offices of Charles H. Johnson, PA   Gell, William              3:23-cv-01921-VC
29
     Law Offices of Charles H. Johnson, PA   Yeargain, Betty            3:22-cv-05976-VC
30
   Law Offices of Denise M. Hevicon;         Kimura, Karl               3:20-cv-00190-VC
31 Michael J. Green & Associates
   Luff Law Firm, PLLC                       Dennis, Alzonia            3:22-cv-03225-VC
32
   Luff Law Firm, PLLC                       Parry, William             3:22-cv-03226-VC
33
   Meshbesher & Spence, Ltd.                 Crutchfield III, Charles   3:22-cv-08860-VC
34
   Meshbesher & Spence, Ltd.                 Jansen, Jeffrey            3:22-cv-08891-VC
35
   Meshbesher & Spence, Ltd.                 Nederhoff, David           3:22-cv-07287-VC
36
   Nachawati Law Group                       Delaney, Todd              3:22-cv-05646-VC
37
   Nix Patterson, LLP                        Stewart, Mark              3:20-cv-01835-VC
38
   Osborne & Francis Law Firm, PLLC          Jackson, Eddie             3:23-cv-01572-VC
39
   Osborne & Francis Law Firm, PLLC          Mee, Kevin                 3:20-cv-01237-VC
40
   Osborne & Francis Law Firm, PLLC          Reid, Charles              3:22-cv-04080-VC
41
   Podhurst Orseck, P.A.                     Boatright, Allen           3:21-cv-00675-VC
42
   Seeger Weiss LLP                          Kirby, Robert              3:21-cv-08447-VC
43
   Seidman Margulis & Fairman, LLP           Denenberg, Doug            3:21-cv-08920-VC
44
   Seidman Margulis & Fairman, LLP           Kane, Mary                 3:23-cv-02682-VC
45
   The Law Offices of Charles L. Meyer       Beavers Jr., Ricky         3:20-cv-08799-VC
46
   The Malbrough Firm LLC                    Headen, Mel                3:20-cv-07885-VC
47
   The Maughan Law Firm                      Matherne, Michael          3:22-cv-01948-VC
48
   The Ruth Law Team                         Danowski, William          3:23-cv-00722-VC
49
   The Ruth Law Team                         Gibson, Faith              3:22-cv-04399-VC
50
   The Ruth Law Team                         Hirvela, Kathleen          3:23-cv-00718-VC
51
   The Ruth Law Team                         Hueckel, Jeanne            3:22-cv-09088-VC
52
   The Ruth Law Team                         Jones, Sheldon             3:22-cv-04265-VC
53


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     The Ruth Law Team               Lampert, Laurie      3:22-cv-05044-VC
54
     The Ruth Law Team               Levy, Sally          3:23-cv-00761-VC
55
     The Ruth Law Team               Mellon, William      3:22-cv-01951-VC
56
     The Ruth Law Team               Morrissey, John      3:22-cv-05731-VC
57
     The Ruth Law Team               Munday, Chris        3:23-cv-00720-VC
58
     The Ruth Law Team               Roman, Albert        3:22-cv-03855-VC
59
     The Ruth Law Team               Somach, Michael      3:19-cv-06048-VC
60
     Welch Law Firm, P.C             Seieroe, David       3:21-cv-09840-VC
61
     The Whitehead Law Firm, LLC     Banet, John          3:20-cv-07883-VC
62
     The Whitehead Law Firm, LLC     Kaup, Junella        3:20-cv-05534-VC
63
     The Whitehead Law Firm, LLC     Kealiinohomoku,      3:21-cv-06110-VC
64                                   Joseph
     The Whitehead Law Firm, LLC     Niescierowicz ,      3:21-cv-05319-VC
65                                   Mariola
     The Whitehead Law Firm, LLC     Orellana, Jennifer   3:21-cv-05625-VC
66
     The Whitehead Law Firm, LLC     Williams, Bernice    3:21-cv-05973-VC
67




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                                    Appendix 2
           Unfiled Eligible Claimant Unresponsive to Claim Filing Deadline

                 Law Firm                     Plaintiff Name         Case Number


    Forester Haynie PLLC                  DeRobbio, Michael       3:20-cv-06776-VC
1




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                                            Appendix 3




                               UNITED STATES DISTRICT COURT

                           NORTHERN DISTRICT OF CALIFORNIA


   IN RE: ROUNDUP PRODUCTS                          MDL No. 2741
   LIABILITY LITIGATION
                                                    Case No. 16-md-02741-VC


   This document relates to:                        PRETRIAL ORDER NO. 240:
                                                    ORDER REQUIRING
   ALL CASES                                        PARTICIPATION IN SPECIAL
                                                    MASTER PROGRAM




       Court-appointed Special Master Ken Feinberg has established a program to allow

plaintiffs in this MDL to receive an offer of a payment to settle their cases. Every current and

future plaintiff in this MDL who has not already reached a settlement with Monsanto is ordered

to participate in the program.

       Pursuant to the program, counsel for individual plaintiffs (or the plaintiffs themselves, if

they are unrepresented) will receive a letter from the Special Master requesting certain

information (and supporting documentation) regarding their claims. Every plaintiff is ordered to

submit the information requested by the Special Master by the deadline he establishes. Failure to

do so will be deemed a violation of this order.

       Once the Special Master has received the information from the plaintiff, Monsanto will

be given an opportunity to submit its own information regarding the plaintiff’s claims. Pursuant

to Monsanto’s consent, the Special Master will then consider all the information submitted

regarding the plaintiff’s claims and make a written settlement offer to the plaintiff, based on his
independent analysis of the claims. Once the Special Master has made this offer, it is binding on
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Monsanto—the company is required to pay it if the plaintiff accepts. The plaintiff may either

accept or reject the offer, but there will be no further negotiation once the Special Master has

conducted his analysis and made his offer.

       There is no penalty for refusal of an offer, and there will be no delay in the litigation

process while a plaintiff timely participates in the Special Master’s program. However, if a

plaintiff fails to participate in the program in accordance with the deadlines set by the Special

Master, that could result in a delay of the litigation, and it will be deemed a violation of this

order, which could result in sanctions.

       The Special Master will contact each plaintiff; plaintiffs do not need to reach out to him.

       IT IS SO ORDERED.



Dated: July 23, 2021
                                               ______________________________________
                                               VINCE CHHABRIA
                                               United States District Judge




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